






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00254-CV






Dione West, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT

NO. 214,310-B, HONORABLE RICK MORRIS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


		This is an accelerated appeal from an order terminating the parental rights of
Dione&nbsp;Monique West and Robert Lee West, Jr., to their minor children, M.W., Ra.W., Ro.W., and
T.A.W., and also terminating the parental rights of Johnny Andrews to M.W.  Dione West's court
appointed attorney filed an Anders brief containing a professional evaluation of the record
and&nbsp;demonstrating that there are no arguable grounds to be advanced on appeal.  See Anders
v.&nbsp;California, 386 U.S. 738, 744 (1967).  Counsel concludes that the appeal is without merit.  The
brief meets the requirements of Anders.  See Taylor v. Texas Dep't of Protective &amp; Regulatory
Servs., 160 S.W.3d 641, 646-47 (Tex. App.--Austin 2005, pet. denied) (applying Anders procedure
in appeal from termination of parental rights).

		A copy of counsel's brief was delivered to Dione West, who was advised of her right
to examine the record and to file a pro se brief.  No pro se brief has been filed.  After reviewing the
record, we have found nothing that would arguably support an appeal, and we agree that the appeal
is frivolous and without merit.  The judgment of the trial court is therefore affirmed.  We further
grant counsel's motion to withdraw as attorney.



						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Pemberton

Affirmed				

Filed:   October 11, 2007


